 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                            District of Delaware
                                       (State)
 Case number (If known):                                    Chapter 11
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/25
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                          CHG US Holdings LLC


 2.   All other names debtor used            PLANTA GROUP
      in the last 8 years
      Include any assumed names,
      trade names, and doing
      business as names




 3.   Debtor’s federal Employer                  8 4 - 3 1 1             9 6 8 5
      Identification Number (EIN)



 4.   Debtor’s address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            850 Commerce Street
                                            Number         Street                                         Number           Street



                                                                                                          P.O. Box

                                            Miami Beach                       FL        33139
                                            City                              State     ZIP Code          City                         State       ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Miami-Dade County
                                            County
                                                                                                          Number      Street




                                                                                                          City                         State       ZIP Code




 5.   Debtor’ s website (URL)                https://www.plantarestaurants.com/




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
Debtor        CHG US Holdings LLC                                                           Case number (if known)
              Name


                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                          Other. Specify:


                                       A. Check one:
 7.   Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            7    2     2    5

 8.   Under which chapter of the       Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?                       Chapter 9
                                           Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,424,000 (amount subject to adjustment on
                                                            4/01/28 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                           Chapter 12

 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?             Yes. District                               When                          Case number
      If more than 2 cases, attach a                                                          MM / DD / YYYY
      separate list.                             District                              When                          Case number
                                                                                              MM / DD / YYYY



 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
Debtor     CHG US Holdings LLC                                                             Case number (if known)
              Name


 10. Are any bankruptcy cases              No
     pending or being filed by a
     business partner or an                Yes. Debtor      See Attachment 1                                        Relationship
     affiliate of the debtor?                    District                                                           When
     List all cases. If more than 1,                                                                                               MM / DD / YYYY
     attach a separate list.                     Case number, if known



 11. Why is the case filed in this     Check all that apply:
     district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.


                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have           No
     possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                     Other



                                                Where is the property?
                                                                             Number        Street




                                                                             City                             State                ZIP Code



                                                Is the property insured?
                                                     No
                                                     Yes. Insurance agency


                                                            Contact name

                                                            Phone



             Statistical and administrative information


 13. Debtor’s estimation of            Check one:
     available funds
                                           Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                           1-49                                1,000-5,000                                   25,001-50,000
 14. Estimated number of
     creditors                             50-99                               5,001-10,000                                  50,001-100,000
                                           100-199                             10,001-25,000                                 More than 100,000
                                           200-999

 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3
Debtor    CHG US Holdings LLC                                                                   Case number (if known)
            Name


                                              $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 15. Estimated assets
                                              $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion


                                              $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of            petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on    05/12/2025
                                                            MM / DD / YYYY

                                         X     /s/ Steven Salm                                              Steven Salm
                                             Signature of authorized representative of debtor              Printed name


                                             Title President & CEO




 18. Signature of attorney               X /s/Joseph C. Barsalona II                                       Date          05/12/2025
                                              Signature of attorney for debtor                                           MM / DD / YYYY



                                             Joseph C. Barsalona II
                                             Printed name
                                             Pashman Stein Walder Hayden, P.C.
                                             Firm name
                                             824 North Market Street, Suite 800
                                             Number                  Street
                                             Wilmington                                                         DE              19801
                                             City                                                               State           ZIP Code

                                             302-592-6496                                                       jbarsalona@pashmanstein.com
                                             Contact phone                                                      Email address



                                             6102                                                               DE
                                             Bar number                                                         State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 4
                                           Attachment 1

                   Pending or Current Bankruptcy Cases Filed by Affiliates

       On May 12, 2025, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion will be filed with the Court
requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

 Entity Name                                        Federal Employer Identification Number
                                                    (EIN)
 CHG US Holdings LLC                                XX-XXXXXXX
 PLANTA Bethesda LLC                                XX-XXXXXXX
 PLANTA Brooklyn LLC                                XX-XXXXXXX
 PLANTA SOHO LLC                                    XX-XXXXXXX
 PLANTA Nomad LLC                                   XX-XXXXXXX
 PLANTA DC LLC                                      XX-XXXXXXX
 PLANTA P Street LLC                                XX-XXXXXXX
 PLANTA KROG LLC                                    XX-XXXXXXX
 PLANTA Denver LLC                                  XX-XXXXXXX
 PLANTA WEHO LLC                                    XX-XXXXXXX
 PLANTA West Palm Beach LLC                         XX-XXXXXXX
 PLANTA Miami Beach LLC                             XX-XXXXXXX
 PLANTA River North LLC                             XX-XXXXXXX
 PLANTA CocoWalk GP,LLC                             XX-XXXXXXX
 PLANTA FLL LLC                                     XX-XXXXXXX
 PLANTA Buckhead LLC                                XX-XXXXXXX
 PLANTA Brentwood LLC                               XX-XXXXXXX
 PLANTA Marina LLC                                  XX-XXXXXXX
/s/ Steven Salm
/s/ Steven Salm
 Steven Salm
President and CEO
May 12, 2025
      Fill in this information to identify the case:

      Debtor name   CHG US Holdings LLC et al
      United States Bankruptcy Court for the:                               District of Delaware
                                                                                     (State)
                                                                                                                                                     Check if this is an
      Case number (If known):                                                                                                                        amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip             email address of creditor          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
     code                                       contact                            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated,   total claim amount and deduction for value of
                                                                                   services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if    Deduction       Unsecured claim
                                                                                                                         partially          for value of
                                                                                                                         secured            collateral or
                                                                                                                                            setoff

     8461 Melrose Avenue, LLC
1    8461 Melrose Avene                                                            Rent                                                                       $613,188.31
     West Hollywood, CA 90069

     Saul Ewing Arstein & Lehr LLP
                                                Attn: Jason M. St. John
2    1001 Fleet Street, 9th Floor                                                  Legal services                                                             $316,568.55
                                                Emai: jason.stjohn@saul.com
     Baltimore, MD 21202

     13 W 27 Leasehold LLC         Attn: Eddie Gonzales
     C/O Kaufman Organization, 450 Email:
3                                                                    Rent                                                                                     $203,251.35
     7th Ave - PH,                 Egonzalez@kaufmanorganization.com
     New York, NY, 10123           KMorrow@kaufmanorganization.com

     Friedman Properties
     350 N Clark St.,                           Attn: Brian Chernett
4                                               Email:                             Rent                                                                       $180,160.62
     Suite 400,                                 bchernett@friedmanproperties.com
     Chicago, IL, 60654
     Baldor Specialty Foods                     Attn: Joseph Cervoni
5    155 Food Center Drive Bronx,               Email:                             Food Vendor                                                                $176,324.49
                                                jcervoniweborders@baldorfood.com
     NY, 10474                                  help@baldorfood.zendesk.com
                                                Attn: Tina Slemp                   Uniforms,
     Vestis                                            Callie Burns                Apparel,
6    PO Box 731676,                             Email: tina.slemp@vestis.com                                                                                  $137,562.82
                                                                                   restaurant
     Dallas TX 75373-1676                              callie.burns@vestis.com
                                                                                   supplies

     Johnson-Lancaster and                      Attm: Liannet Pino
     Associates, Inc.                           Email: LiannetP@Johnson-
7    13031 US Highway 19                        Lancaster.com AlG@Johnson-         Smallwares                                                                 $133,023.76
     North Clearwater, FL 33764                 Lancaster.com
                                                KristenH@Johnson-
                                                Lancaster.com


    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
    Debtor       CHG US Holdings LLC et al                                                      Case number (if known)
                 Name



     Name of creditor and complete         Name, telephone number, and        Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor          (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                            debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                              professional          unliquidated, total claim amount and deduction for value of
                                                                              services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if    Deduction for      Unsecured
                                                                                                                    partially          value of           claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff


      JPPF Buckhead Village LP             Email:
                                                                                                                                                          $117,837.6
8     PO Box 22086                         TheShopsBuckhead@Jamesto Rent
                                                                                                                                                                   1
      New York, NY 10087                   wnLP.com

      CityPlace Retail, LLC                Attn: Brian McEvoy
                                                                                                                                                          $112,407.0
9     PO Box 865751                        Email:                             Rent
                                                                                                                                                                   3
      Orlando, FL 32886                    Brian.McEvoy@related.com
   New Hampshire Avenue Holdings
   LLC CBRE                      Attn: Ivory Moore
   1200 New Hampshire Ave. N.W, Email: Emmy.Nadiga@cbre.com
10                                                          Rent                                                                                          $86,288.98
   Ste. 150,                     Breanne.Hoffmann@cbre.com
   Washington DC, MD, 20036      Ivory.Moore@jll.com


   Cal Select Properties, Inc.             Attn: Chad Eshaghoff, CPM,
   1964 Westwood Blvd.,                    CCIM
11                                         Email:                             Rent                                                                        $71,639.66
   Suite 240,
                                           Claudiac@calselectproperties.com
   Los Angeles, CA 90025                   chade@calselectproperties.com

      The Chefs' Warehouse                 Attn: Natalie Clarke
                                           Email:
12 P.O. Box 32187                                                             Food Vendor                                                                 $70,740.38
                                           naclarke@chefswarehouse.com
      New York, NY, 10087-2187             JAviles@chefswarehouse.com

   Elo Investments 2, LLC
   C/O SFLRE Group , LLC, 1650             Attn: Steve Thompson
13                                                                            Rent                                                                        $65,016.00
   SE 17th St. Suite 214 Fort              Email: st@sflregroup.com
   Lauderdale, FL, 33316

      D & A Studio Inc
14 3990 NW 132 Street,                     Email: anhinc5253@gmail.com Millwork                                                                           $63,450.00
      Opa Locka, FL 33054
                                Attn: Angela P Perez Gomez
   Imperial Bag & Paper Co LLC
                                Email:
15 P.O BOX. 27305                                             Paper products                                                                              $62,936.60
                                ryanes@imperialdade.com
   New York NY, 10087-7305
                                anperez@imperialdade.com
   Kellermeyer Bergensons       Attn: Alejandro Almanza
   Services LLC                 Email:                        Linen Rentals &
16                                                                                                                                                        $62,633.54
   P.O. BOX 7410386 CHICAGO IL, customerinvoiceinquiries@kbs- Laundry
   60674-0386                   services.com
      Stream Realty                        Attn: Toni Thompson
17 1115 Howell Mill Rd NW, Suite           Email:                             Rent                                                                        $60,560.74
      300, Atlanta, GA, 30318              Toni.thompson@streamrealty.com

                                            Attn: Jessica Smalley
      Stenson Tamaddon, LLC
                                           Email:
18 111 W. Monroe St, 17th Floor,                                       Services                                                                           $60,392.70
                                           client.services@stentam.com
      Phoenix AZ 85003
                                           jessica.smalley@stentam.com




     Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
  Debtor       CHG US Holdings LLC et al                                                  Case number (if known)
               Name



   Name of creditor and complete         Name, telephone number, and    Nature of the claim   Indicate if   Amount of unsecured claim
   mailing address, including zip code   email address of creditor      (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                         contact                        debts, bank loans,    contingent,   claim amount. If claim is partially secured, fill in
                                                                        professional          unliquidated, total claim amount and deduction for value of
                                                                        services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                              Total claim, if    Deduction for      Unsecured
                                                                                                              partially          value of           claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


   Greystar
   600 Las Colinas Blvd E,               Attn: Nick Smocovich
19 Ste 2100,                             Email:                         Rent                                                                        $54,947.96
   Irving, TX, 75039                     360wythemgr@greystar.com



    Pacific Marina Venture LLC
                                         Attn: Pinky Paclibar
20 13737 Fiji Way #C10,
                                         Email: ppaclibar@pom-mdr.com
                                                                        Rent                                                                        $50,344.87
    Marina Del Rey, CA, 90292-6962




   Official Form 204          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 2
                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                              Chapter 11

                                                    Case No. 25-_______ (__)
 CHG US Holdings LLC,

                               Debtor.


     CORPORATE OWNERSHIP STATEMENT AND LIST OF EQUITY HOLDERS

         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are equity holders, other than governmental units, that directly or

indirectly own 10% of more of any class of the Debtor’s equity interests:

  Name and last known address or place of
                                                           Percentage of Ownership
            business of holder

 Anchorage Illiquid Opportunities
 Master VI (B), L.P.
 c/o Morrison Foerster LLP,                                          49.1%
 250 West 55th Street
 New York, New York, 10019
 Attn: Benjamin Butterfield

 CHG Planta Miami Inc.
 c/o Fox Rotschild LLP
                                                                     14.7%
 2001 Market Street, Suite 1700
 Philadelphia, PA 19103
 Attn: Michael G. Menkowitz
 CHG 2022 Planta Miami Inc.
 c/o Fox Rotschild LLP
                                                                     10.6%
 2001 Market Street, Suite 1700
 Philadelphia, PA 19103
 Attn: Michael G. Menkowitz
 Fill in this information to identify the case and this filing:


 Debtor Name     CHG US Holdings LLC
 United States Bankruptcy Court for the:                             District of Delaware
                                                                                 State)

  Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature



          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule

              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

              Other document that requires a declaration          Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


        Executed on         05/12/2025                        /s/ Steven Salm
                            MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  Steven Salm
                                                                  Printed name


                                                                  President & CEO
                                                                  Position or relationship to debtor




Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
